        Case 6:21-cv-04191-RRS-CBW Document 3 Filed 12/08/21 Page 1 of 2 PageID #: 209

 AO 440 (Rev. 06/12) Summons in a Civil Action


                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                      LAFAYETTE DIVISION



          A I G SPECIALTY INSURANCE CO     )
                          Plaintiff        )
                         v.                ) Civil Action No. 6:21−CV−04191−RRS−CBW
                                           ) Judge Robert R Summerhays
               KNIGHT OIL TOOLS INC        )
                      Defendant            )
                                SUMMONS IN A CIVIL ACTION

To:
Knight Oil Tools Inc




         A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in
Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
plaintiff's attorney, whose name and address are:
                                        Robert I Siegel
                                        Gieger Laborde & Laperouse
                                        701 Poydras St Ste 4800
                                        New Orleans, LA 70139

      If you fail to do so, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:    12/8/2021                                                                 /s/ − Tony R. Moore
        Case 6:21-cv-04191-RRS-CBW Document 3 Filed 12/08/21 Page 2 of 2 PageID #: 210

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                    6:21−CV−04191−RRS−CBW
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for Knight Oil Tools Inc was received by me on (date)______________________________.


              • I personally served the summons on Knight Oil Tools Inc at (place)__________________________
                ____________________________________ on (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law
                to accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):

       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address




Additional information regarding attemped service, etc:
